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                       THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

UNITED STATES COMMODITY                          §
FUTURES TRADING COMMISSION,                      §
                                                 §
                   Plaintiff,                    §
                                                 §
v.                                               §         Civil Action No. A-12-CV-0862-LY
                                                 §
SENEN POUSA, INVESTMENT                          §
INTELLIGENCE CORPORATION,                        §
DBA PROPHETMAX MANAGED FX,                       §
JOEL FRIANT, MICHAEL DILLARD, and                §
ELEVATION GROUP, INC.,                           §
                                                 §
                   Defendants.                   §

                                RECEIVER’S STATUS REPORT
       Guy M. Hohmann, the Court-appointed Receiver in the above-referenced ProphetMax

Receivership matter and the ancillary IB Capital matter, files this Status Update.

                                            UPDATE
       1.      The Receiver recently entered into assignment agreements with Emade Echadi

(“Echadi”), Michel Geurkink (“Geurkink”) (collectively, the “Individual Defendants”) and IB

Capital (collectively, “the Defendants”) and an entity affiliated with Echadi, Maverick Venture

Capital Holding Ltd. (“Maverick”).

       2.      The assignment agreements assigned approximately USD $7 million in account

proceeds in the name of IB Capital and Maverick which are presently on deposit in the Netherlands

with ING Bank (the “ING Account Assignment Agreements”.)

       3.      When ING Bank was presented with the ING Account Assignment Agreements

requesting the funds in those accounts be wire transferred to the Receiver, their legal counsel

responded by providing documentation reflecting that IB Capital and Maverick had been dissolved
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in 2013, under the laws of the United Kingdom (“UK”) for failing to make certain annual filings

(IB Capital and Maverick are UK domiciled entities). Because, the entities had been dissolved;

ING Bank’s counsel has taken the position, the ING Account Assignment Agreements are invalid.

        4.      In the event, they are not restored to the Registrar of Companies (“ROC”) in the

UK within six years of their dissolution, the assets of those entities would “revert to the Crown”.

The six-year deadline is quickly approaching. ING’s counsel provided documentation reflecting

those facts.

        5.      In order for IB Capital and Maverick to be restored to the ROC, to initiate the

process, the Receiver has retained UK counsel. As part of that process, it will be necessary for the

Receiver to sign certain documents on behalf of IB Capital and Maverick or to otherwise make

claims against them. While the receiver is authorized to sign on behalf of IB Capital, he is not

authorized to sign on behalf of Maverick.

        6.      The Receiver will be filing a Complaint, within the next few days, against all

individuals and entities (the “Relief Defendants”) that are affiliated with financial accounts which

presently hold funds that were wrongfully misappropriated from IB Capital, including Maverick.

Once, that Complaint is filed, the Receiver’s UK counsel will make the filings before the ROC in

order to commence the restoration process for IB Capital and Maverick.

        7.      The Complaint against the Relief Defendants will seek to recover approximately

USD $21 million dollars in assets which are presently frozen at the request of the Dutch Public

Prosecution Office. These assets are presently held in the names of the Relief Defendants the

Receiver will be naming in the Complaint.

        8.      The Receiver was recently informed the Dutch Public Prosecutor’s Office (the

“DPPO”) will be sending two wire transfers totaling approximately USD $45,000.00 into the



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Receivership estate, within the near future. The Receiver understands this amount is comprised of

proceeds from the sale of property previously belonging to the Defendants and persons previously

affiliated with the Defendants.

       9.      The Receiver has been in communications with representatives of a financial

institution in Slovakia that has approximately USD $8.25 million on deposit under the name of

Riknik & Sons, Ltd.. (Riknik is a company that is affiliated with Geurkink.) When the Receiver

requested the financial institution to forward those funds, he was informed the Slovakian

government has issued a freeze order on the account. The Receiver has not yet been successful in

obtaining a copy of the freeze order.



                                            Respectfully submitted,

                                             GUY HOHMANN

                                             By: /s/ Guy Hohmann
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                                             RECEIVER FOR THE PROPHETMAX AND
                                             IB CAPITAL RECEIVERSHIP ESTATES




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                             CERTIFICATE OF SERVICE

         On September 16, 2019, I electronically submitted the foregoing document with the
clerk of the court of the U.S. District Court, Western District of Texas, using the electronic
case filing system of the court. I hereby certify that I have served all counsel and/or pro se
parties of record electronically or by another manner authorized by Federal Rule of Civil
Procedure 5(b)(2).

                                           /s/ Guy Hohmann
                                           Guy Hohmann




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